                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2021-NCCOA-67

                                         No. COA20-495

                                      Filed 16 March 2021

     New Hanover County, Nos 19CRS 51477, 1211

     STATE OF NORTH CAROLINA

                  v.

     YUL BANNERMAN


           Appeal by Defendant from judgment entered 18 December 2019 by Judge

     Richard K. Harrell in New Hanover County Superior Court. Heard in the Court of

     Appeals 24 February 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Tien Cheng,
           for the State-Appellee.

           Michael Spivey for Defendant-Appellant.


           COLLINS, Judge.


¶1         Defendant appeals from judgment entered upon jury verdicts of guilty of

     conspiracy to commit common law robbery, common law robbery, and being a

     habitual felon. Defendant contends that that the trial court erred by accepting his

     waiver of counsel because it was not the result of a voluntary exercise of his free will.

     For the reasons stated below, we discern no error.
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                               I.   Procedural Background

¶2         On 20 February 2019, Defendant was arrested on charges of conspiracy to

     commit armed robbery. Attorney Jordan Duhe was assigned on 22 February 2019 to

     represent Defendant. Defendant was subsequently indicted for conspiracy to commit

     robbery with a dangerous weapon, robbery with a dangerous weapon, and being a

     habitual felon.

¶3         On 19 May 2019, Defendant requested new counsel, and Ms. Duhe filed a

     motion to withdraw alleging a breakdown in communication and a conflict of interest.

     This motion was granted and Attorney Merrit Wagoner was appointed on 3 June 2019

     to represent Defendant.

¶4         On 10 October 2019, Mr. Wagoner filed a motion to withdraw, alleging

     Defendant had asked him to withdraw and had threatened to file grievances against

     him with the North Carolina State Bar. At the 22 October 2019 hearing on the

     motion, Defendant expressed a desire to represent himself and signed a written

     waiver of counsel. At a hearing on 10 December 2019, Defendant was appointed

     standby counsel.

¶5         A jury trial was held on 16-18 December 2019. Defendant was ultimately

     convicted of common law robbery and conspiracy to commit common law robbery, was

     found to be a habitual felon, and was sentenced to a prison term of 96 to 128 months.

     Defendant timely entered oral notice of appeal.
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                                       II.     Discussion

¶6         Defendant’s sole argument on appeal is that the trial court erred by accepting

     his waiver of counsel because the waiver was not the result of a voluntary exercise of

     his free will, but rather was the result of his belief that it was his only choice to avoid

     delaying his trial.

¶7         We review de novo a trial court’s determination that a defendant has waived

     the right to counsel. State v. Simpkins, 373 N.C. 530, 533, 838 S.E.2d 439, 444 (2020).

     A criminal defendant’s right to counsel during a criminal proceeding is protected by

     both the federal and state constitutions. See U.S. Const. amend. VI; N.C. Const. art.

     I § 19, 23. Although a defendant has a constitutional right to representation during

     a criminal proceeding, he may elect to waive that right and instead proceed pro se.

     State v. Mems, 281 N.C. 658, 670-71, 190 S.E.2d 164, 172 (1972).

¶8         Any waiver of the right to counsel and concomitant election to represent

     himself must be expressed “clearly and unequivocally.” State v. Thomas 331 N.C.

     671, 673, 417 S.E.2d 473, 475 (1992) (citation omitted). “Upon receiving this clear

     request, the trial court is required to ensure that the waiver is knowing, intelligent,

     and voluntary.” Simpkins, 373 N.C. at 534, 838 S.E.2d at 445 (citing Thomas, 331

     N.C. at 674, 417 S.E.2d at 476). The trial court can ensure a waiver is knowing,

     intelligent, and voluntary by fulfilling the mandate of N.C. Gen. Stat. § 15A-1242,

     which requires the trial court to conduct a “thorough inquiry” and to be satisfied that
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       “(1) the defendant was clearly advised of the right to counsel, including the right to

       assignment of counsel; (2) the defendant ‘[u]nderstands and appreciates the

       consequences’ of proceeding without counsel; and (3) the defendant understands what

       is happening in the proceeding as well as ‘the range of permissible punishments.’”

       Simpkins, 373 N.C. at 534, 838 S.E.2d at 445 (2020) (citing N.C. Gen. Stat. § 15A-

       1242).

¶9              For the reasons stated below, we conclude that Defendant clearly and

       unequivocally expressed his desire to waive counsel and represent himself, and that

       he made this decision knowingly, intelligently, and voluntarily.

¶ 10            On 22 October 2019, the trial court heard Defendant’s second appointed

       attorney’s motion to withdraw. After granting the motion and announcing that it

       would appoint Attorney Paul Mediratta to represent Defendant, the Assistant

       District Attorney (ADA) stated to the court,

                     [W]ith . . . Mr. Wagoner’s getting out of the case today, I
                     hope that [Defendant] understands that this case will no
                     longer be heard in December. . . . [W]e had this case set for
                     December 16th. This is his doing, and we’re going to have
                     to put this case on the February 24th, 2020 trial calendar
                     to get Mr. Mediratta a chance . . . to get into the case[.]

       The trial court responded, “Okay.” The following colloquy then took place:

                     THE DEFENDANT: Excuse me, Your Honor. I withdraw
                     for an attorney if we can have this date of December the
                     16th. I withdraw, and I will represent myself if I can have
                     a date in court.
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                    THE COURT: I can hear you, but can we get that --

                    THE DEFENDANT: I would withdraw counsel if I could
                    have my date in court.

                    THE COURT: You want to represent yourself on that?

                    THE DEFENDANT: If we don’t keep the December 16th
                    date. I got some motions I need to be heard on.

¶ 11         Defendant proceeded to argue that the State was withholding exculpatory

       evidence. The trial court explained to Defendant, “that’s not why we’re in here right

       now,” and again asked Defendant if he wanted to represent himself. Defendant

       responded, “Yes, I’m ready. I’ll represent myself.” Defendant signed a waiver of

       counsel form, waiving his right to assigned counsel. The trial remained set for 16

       December 2019.

¶ 12         Defendant was brought back into court on 10 December 2019 to address his

       letter to the court requesting a “co-counselor” for trial. At the outset of the hearing,

       the trial court asked Defendant, “You want to represent yourself; is that correct? Do

       you intend to represent yourself?” Defendant responded, “Yes.”

¶ 13         After some discussion about Defendant’s desire to see some videos he thought

       were in the State’s possession, the ADA explained to the trial court about Defendant’s

       statements at the October hearing that he wanted to represent himself and the ADA

       “ask[ed] that the Court maybe go over some of those responsibilities, that he be made
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       fully aware of what it would mean to represent himself if the Court is willing to do

       that.”

¶ 14            The trial court then addressed Defendant, “Mr. Bannerman, I do need to ask

       you some questions about representing yourself. . . . [T]he questions I’m asking you

       right now about regarding your representing yourself. I have to ask you a series of

       questions.”    Defendant responded, “Okay.”      Through questioning, the trial court

       confirmed that Defendant was able to hear and understand him and was not under

       the influence of alcohol, drugs, or any other substances. The trial court discerned

       that Defendant was 51 years old, got his GED in 1987, and could read and write at

       an “A level.” The following inquiry then took place:

                      THE COURT: Do you understand that you have the right
                      to have an attorney represent you?

                      THE DEFENDANT: Yes.

                      THE COURT: Do you understand you may ask for an
                      attorney to be appointed to represent you -

                      THE DEFENDANT: Yes.

                      THE COURT: -- if you cannot afford to hire one?

                      THE DEFENDANT: Yes.

¶ 15            The trial court informed Defendant he would be required to follow the same

       rules of evidence and procedure if he represented himself, the nature of the charges
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       against Defendant, and his potential punishment. The trial court engaged in the

       following colloquy with Defendant:

                    THE COURT: All right. Do you now waive your right to
                    have counsel, or have an attorney represent you at your
                    trial?

                    THE DEFENDANT: That’s going to move the date back,
                    Your Honor.

                    THE COURT: No, it’s not going to move the date. I’m
                    asking you, do you want an attorney?

                    THE DEFENDANT: Yeah, I wanted a co-counsel.

¶ 16         At this point, the trial court told Defendant that he could not have co-counsel

       and that if the trial court appointed an attorney, it would be as standby counsel. The

       trial court explained that standby counsel is not co-counsel and that standby counsel

       “will not be sitting at the table beside you. You will be sitting at that table by

       yourself.” Defendant responded, “Okay.” The trial court further explained that

       standby counsel “will only be to assist you on some issues that you might have but

       not in the presence of the judge or in the presence of the jury.” Defendant responded,

       “Okay. That’s understandable. Yes.” The following exchange then took place:

                    THE COURT: So that’s for standby counsel. I’m now
                    talking about a regular attorney. You’re waiving your right
                    to have an attorney represent you at trial?

                    THE DEFENDANT: Yes. I don’t want my court date
                    pushed back. I don’t want the court date pushed back.
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                    THE COURT: All right. I understand that. So you’re giving
                    up that right, to have an attorney?

                    THE DEFENDANT: Yes. You said I’m allowed to have
                    standby, right?

                    THE COURT: I haven’t gotten there yet.

                    THE DEFENDANT: All right. I’ll waive that if I could have
                    a standby, if you don’t mind, for some legal issues.

¶ 17         The trial court accepted Defendant’s waiver of counsel and appointed standby

       counsel.

¶ 18         These exchanges show that on several occasions, Defendant clearly and

       unequivocally stated his desire to waive counsel and represent himself. State v.

       Paterson, 208 N.C. App. 654, 663, 703 S.E.2d 755, 761 (2010) (determining that the

       trial court’s multiple colloquies with defendant and defendant’s “repeated assertion”

       that he wanted to represent himself demonstrated defendant’s clear and unequivocal

       desire to represent himself).   Moreover, the questions asked by the trial court

       mirrored the fourteen-question checklist published by the University of North

       Carolina School of Government, which “illustrate[s] the sort of ‘thorough inquiry’

       envisioned by the General Assembly when [N.C. Gen. Stat. § 15A-1242] was

       enacted[.]” State v. Moore, 362 N.C. 319, 327-28, 661 S.E.2d 722, 727 (2008). The

       trial court’s thorough inquiry and Defendant’s answers showed that Defendant’s

       waiver was made knowingly, intelligently, and voluntarily.
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¶ 19         Defendant does not contend that he did not clearly and unequivocally waive

       his right to counsel or that the trial court failed to conduct an adequate inquiry under

       N.C. Gen. Stat. § 15A-1242. Instead, citing State v. Bullock¸ 316 N.C. 180, 340 S.E.2d

       106 (1986), and State v. Pena, 257 N.C. App. 195, 809 S.E.2d 1 (2017), Defendant

       contends that his decision to waive counsel was not the voluntary exercise of his free

       will because it was the result of his belief that it was his only choice to avoid delaying

       his trial from December to February. Bullock and Pena are distinguishable.

¶ 20         In Bullock, the trial court allowed defendant’s privately retained counsel to

       withdraw, at defendant’s request, six days before his trial date but informed

       defendant he would not receive a continuance. Bullock, 316 N.C. at 182-83, 340

       S.E.2d at 107. On the day of his trial, defendant informed the court he had been

       unable to retain counsel, but the trial court told defendant “[t]he case will be for trial”

       and defendant proceeded to be tried without counsel. Id. at 184, 340 S.E.2d at 108.

       The Supreme Court ultimately held that defendant “acquiesced to trial without

       counsel because he had no other choice.” Id. at 185, 340 S.E.2d at 108.

¶ 21         Likewise, in Pena, the trial court denied defendant’s request for a different

       court-appointed attorney and denied defendant’s request for additional time to retain

       a private attorney. Pena, 257 N.C. App. at 197-98, 809 S.E.2d at 3-4. Defendant was

       forced to choose between his original court-appointed counsel and representing

       himself, and he ultimately decided to represent himself. Id. at 203, 809 S.E.2d at 6.
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       This Court determined that defendant did not “outright request” to represent himself

       but instead chose to do so when faced with no other option other than continuing with

       his court-appointed counsel. Id.
¶ 22         Unlike in Bullock and Pena where the trial court was unwilling to allow

       defendants more time to secure attorneys and, thus, defendants had no option but to

       represent themselves at trial, the trial court in this case had just announced that it

       would appoint Defendant his third attorney. At that point, Defendant voluntarily

       waived counsel to accommodate his own desire to keep a December trial date. His

       understanding, either correct or incorrect, that his trial could be delayed until

       February if he accepted the appointment of the third attorney did not make his choice

       to waive counsel involuntary.       His motivation simply explains why he chose to

       voluntarily waive counsel and proceed pro se with standby counsel.

                                      III.     Conclusion

¶ 23         Defendant clearly and unequivocally expressed his desire to waive his right to

       counsel and the trial court conducted a thorough inquiry, in compliance with N.C.

       Gen. Stat. § 15A-1412, to ensure this waiver was knowing, intelligent, and voluntary.

       Accordingly, we discern no error.

             NO ERROR.



             Judges TYSON and WOOD concur.
